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                              UNITED STATES DISTRICT COURT
                                           for the
                                 DISTRICT OF CONNECTICUT
_________________________________________
                                                 :
 Joseph Strauch and Timothy Colby,               :
 and on behalf of themselves and all those       :
 similarly situated                              :       CIVIL NO.:
                                                 :       3:14-cv-956 (JBA)
                                                 :
        Plaintiffs,                              :
v.                                               :
                                                 :
Computer Sciences Corporation                    :
                                                 :       September 4, 2019
        Defendant.                               :
_________________________________________ :

                 DEFENDANT COMPUTER SCIENCES CORPORATION’S
                         AMENDED NOTICE OF APPEAL

       Notice is hereby given that Computer Sciences Corporation (“CSC”), the Defendant in the

above-named case, hereby amends its notice of appeal to the United States Court of Appeals for the

Second Circuit filed on October 22, 2018 (Dkt. 477)1 in order to further appeal from the Court’s

“Ruling on Remedies” (Dkt. 479); “Ruling on Report and Recommendation of Special Master”

(Dkt. 514); and “Amended Judgment” (Dkt. 515), including all adverse rulings subsumed therein,

including but not limited to the following:

       1.      The Court’s “Ruling on Remedies” that rules on outstanding issues pertaining to

damages, including but not limited to its rejection of the application of the Fluctuating Workweek




1
 CSC’s original Notice of Appeal was docketed on October 23, 2018 on Court of Appeals Docket
No. 18-3136. CSC subsequently moved to hold the appeal in abeyance pending the Court’s final
orders, which was granted on November 9, 2018 (Appeals Dkt. 15). Also on October 23, 2018, the
Court of Appeals inadvertently opened a duplicate docket, No. 18-3359, which was dismissed on
December 19, 2018 (Dkt. 482). The correct original docket, No. 18-3136, remains open.
Nonetheless, to avoid any doubt and in the interest of ensuring that all issues are fully preserved on
appeal, CSC attaches its original Notice of Appeal hereto as Exhibit 1.

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method of calculating damages and its rejection of CSC’s defense of good faith, (Dkt. 479), entered

November 9, 2018;

       2.      The Court’s “Ruling on Report and Recommendation of Special Master” that adopts

in significant part the Special Master’s Report and Recommendations regarding damages data and

calculations over CSC’s objections, (Dkt. 514), entered on August 6, 2019; and

       3.      The Court’s amended entry of judgment against Defendants, (Dkt. 515), entered on

August 12, 2019.

                                                    Respectfully submitted,

                                                    DEFENDANT,
                                                    COMPUTER SCIENCES CORPORATION

                                                    By its attorneys,
                                                    /s/ William J. Anthony
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                               CERTIFICATION OF SERVICE

       I hereby certify that on September 4, 2019, a copy of the foregoing was hand delivered to

the Court and Plaintiffs’ attorneys or filed electronically and served by mail on anyone unable to

accept electronic filing.



                                           /s/ William J. Anthony
                                           William J. Anthony




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         Exhibit 1
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                              UNITED STATES DISTRICT COURT
                                           for the
                                 DISTRICT OF CONNECTICUT
_________________________________________
                                                 :
 Joseph Strauch and Timothy Colby,               :
 and on behalf of themselves and all those       :
 similarly situated                              :       CIVIL NO.:
                                                 :       3:14-cv-956 (JBA)
                                                 :
        Plaintiffs,                              :
v.                                               :
                                                 :
Computer Sciences Corporation                    :
                                                 :       October 22, 2018
        Defendant.                               :
_________________________________________ :

    DEFENDANT COMPUTER SCIENCES CORPORATION’S NOTICE OF APPEAL
       Notice is hereby given that Computer Sciences Corporation (“CSC”), the Defendant in the

above-captioned case, hereby appeals to the United States Court of Appeals for the Second Circuit

from the Ruling on Post-Trial Motions (denying CSC’s renewed motion for judgment as a matter of

law and post-trial motion to decertify the FLSA collective and Rule 23 classes) entered in this

action on September 21, 2018 (Dkt. #476) and all adverse rulings subsumed therein, including but

necessarily limited to the following:

       1.      The Court’s order granting FLSA conditional certification in favor of Plaintiffs (Dkt.

168), entered June 9, 2015;

       2.      The Court’s order granting in part Plaintiffs’ Rule 23 Class Certification (Dkt. 323),

entered June 30, 2017;

       3.      The Court’s order denying CSC’s Motion to Decertify the California Class (Dkt.

358), entered October 18, 2017;




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       4.      The Court’s order denying CSC’s Motion to Decertify the Rule 23 Classes (Dkt.

412), entered November 30, 2017;

       5.      The Magistrate Judge’s order regarding the number of depositions (Dkt. 171),

entered June 10, 2015, and this Court’s order overruling Defendant’s objections to ruling on the

number of depositions (Dkt. 289), entered January 8, 2016;

       6.      The Court’s endorsement order in which, among other rulings, the Court did not

allow CSC to compel the live testimony at trial of opt-in Plaintiffs who were beyond Rule 45’s

subpoena power even though those opt-in Plaintiffs signed FLSA consents that were filed with this

Court and in which the opt-in Plaintiffs affirmatively consented to be party plaintiffs and participate

in discovery and at trial (Dkt. 411), entered November 29, 2017; and

       7.      The Court’s order on Jury Instructions (Dkt. 441), entered December 19, 2017.

       In addition, CSC reserves the right to supplement this notice of appeal in light of future

orders from this Court on Remedies, such as whether overtime should be paid at a half-time rate,

and Attorneys’ Fees and any other orders this Court may issue after this filing.

                                                      Respectfully submitted,

                                                      DEFENDANT,
                                                      COMPUTER SCIENCES CORPORATION

                                                      By its attorneys,

                                                      /s/ William J. Anthony
                                                      JACKSON LEWIS P.C.
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                                CERTIFICATION OF SERVICE

         The undersigned hereby certifies that, on October 22, 2018, a copy of the foregoing was

filed electronically and served by mail on anyone unable to accept electronic filing. Notice of this

filing will be sent by email to all parties of record by operation of the Court’s electronic filing

system or by mail to anyone unable to accept electronic filing. Parties may access this filing

through the Court’s system.



                                            /s/ William J. Anthony
                                            William J. Anthony




4825-6242-2393, v. 1




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